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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                     CRIMINAL ACTION NO. 99-10098-RGS


                          UNITED STATES OF AMERICA

                                           v.

                                STEPHEN ROSSETTI


                     MEMORANDUM AND ORDER ON
              PETITIONER’S MOTION FOR RECONSIDERATION
                     OR, IN THE ALTERNATIVE, FOR
                   A CERTIFICATE OF APPEALABILITY

                                    April 13, 2012

STEARNS, D.J.

      On January 9, 2012, this court entered an Order and Judgment denying

petitioner Stephen Rossetti’s motion to vacate, set aside, or correct sentence pursuant

to 28 U.S.C. § 2255. On February 9, 2012, Rossetti filed the above-captioned motion

for reconsideration, or alternatively, for a certificate of appealability. The motion for

reconsideration will be denied for the reasons stated in the court’s January 9

Memorandum of Decision.

      In his alternative prayer for relief, Rossetti requests that the court issue a

certificate of appealability pursuant to 28 U.S.C. § 2253(c). Rossetti seeks the

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certification of essentially two issues (the first with numerous sub-parts) for appeal:

(1) whether he was denied the effective assistance of counsel at various stages of the

prosecution stemming from, inter alia, an alleged conflict of interest on the part of his

attorney, William Cintolo; and (2) whether he acted with the requisite diligence in

seeking the vacatur of a 1997 conviction for breaking and entering (which was cited by

the government at sentencing as a reason for an enhanced sentence on Rossetti’s felon-

in-possession conviction).

       A certificate of appealability will issue only where a petitioner has made a

“substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253 (c)(2).

A petitioner makes such a showing when he demonstrates that his petition involves

issues which are debatable among reasonable jurists, that another court could resolve

the issue differently or that the issues are adequate to deserve encouragement to

proceed further. See Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).

       The court will deny the certificate as to the first requested ground as Rossetti

raises no arguments regarding his counsel’s performance that have not been thoroughly

addressed and shown to fall well short of establishing a viable Sixth Amendment claim.

However, the second issue: whether the court correctly held that Rossetti was not

entitled to relief on the vacatur issue is one with which reasonable jurists could disagree

based on the reading of Johnson v. United States, 544 U.S. 295 (2005). On this issue

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the request will be granted.1

                                       ORDER

      For the foregoing reasons, the motion for reconsideration is DENIED. The

request for a certificate of appealability is GRANTED as to ground two (as identified

above) and DENIED as to ground one. The motion to proceed on appeal in forma

pauperis is ALLOWED.

                                        SO ORDERED.

                                        /s/ Richard G. Stearns
                                        _______________________________
                                        UNITED STATES DISTRICT JUDGE




      1
         More specifically, the issue (as explained in the court’s January 9, 2012
decision) is whether under Johnson the due diligence trigger point for purposes of 28
U.S.C. § 2255(f)(4) should be fixed at Rossetti’s first sentencing date of November 27,
2002, or at the Booker resentencing date of August 7, 2007, or as the government
argues, as of the date of the Johnson decision, April 4, 2005. In terms of the steps
taken by Rossetti to vacate his state conviction, like the government, I have no reason
to question Rossetti’s factual assertions, and I therefore consider the record complete
for evidentiary purposes on the issue. See Gov’t Opp’n at 4; Rossetti Aff. of March
5, 2012.
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